                                                                       Case 2:19-ap-01018-NB          Doc 4 Filed 03/14/19 Entered 03/14/19 11:39:30            Desc
                                                                                                       Main Document    Page 1 of 3


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                                                                   6
                                                                         Attorneys for Plaintiff Richard M. Pachulski, Chapter 11
                                                                   7     Trustee for the Bankruptcy Estate of Layfield & Barrett, APC

                                                                   8                                  UNITED STATES BANKRUPTCY COURT
                                                                   9                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
                                                                  10
                                                                         In re:                                                  Case No.: 2:17-bk-19548-NB
                                                                  11
                                                                         LAYFIELD & BARRETT, APC,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                                                                 Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                    Debtor.
                                           ATTORNEYS AT LAW




                                                                  14     RICHARD M. PACHULSKI, Chapter 11 Trustee                Adv. No.: 2:19-ap-01018-NB
                                                                         for the bankruptcy estate of Layfield & Barrett,
                                                                  15     APC,
                                                                                                                                 NOTICE OF DISMISSAL OF
                                                                  16                                    Plaintiff,               ADVERSARY ACTION
                                                                  17                     v.
                                                                  18     GRACE WATSON, an individual, and DOES 1
                                                                         through 3,
                                                                  19
                                                                                                        Defendants.
                                                                  20

                                                                  21
                                                                                  PLEASE TAKE NOTICE that, pursuant to Rule 41(a) of Federal Rules of Civil Procedure,
                                                                  22
                                                                         made applicable by Rule 7041 of the Federal Rules of Bankruptcy Procedure, Plaintiff in the above-
                                                                  23
                                                                         captioned case, hereby voluntarily dismisses the above-referenced action without prejudice.
                                                                  24
                                                                        Dated:     March 14, 2019                     PACHULSKI STANG ZIEHL & JONES LLP
                                                                  25

                                                                  26
                                                                                                                      By    /s/ James K.T. Hunter
                                                                  27                                                        James K.T. Hunter

                                                                  28                                                        Attorneys for Plaintiff Richard M. Pachulski,
                                                                                                                            Chapter 11 Trustee for the bankruptcy estate of
                                                                                                                            Layfield & Barrett, APC

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         Case 2:19-ap-01018-NB                    Doc 4 Filed 03/14/19 Entered 03/14/19 11:39:30                                     Desc
                                                   Main Document    Page 2 of 3


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                        10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067


A true and correct copy of the foregoing document entitled (specify):                     NOTICE OF DISMISSAL OF
ADVERSARY ACTION
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 14, 2019      , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

       James KT Hunter             jhunter@pszjlaw.com
       United States Trustee (LA)               ustpregion16.la.ecf@usdoj.gov


                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) March 14, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 14, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA HAND DELIVERY
Honorable Neil W. Bason
U.S. Bankruptcy Court
255 E. Temple Street, Suite 1552 / Courtroom 1545
Los Angeles, CA 90012
                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  March 14, 2019                 MARY DE LEON                                                   /s/ Mary de Leon
 Date                         Printed Name                                                    Signature

          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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         Case 2:19-ap-01018-NB                    Doc 4 Filed 03/14/19 Entered 03/14/19 11:39:30                                     Desc
                                                   Main Document    Page 3 of 3


ADDITIONAL SERVICE LIST:

Mailing Information for Case 2:19-ap-01018-NB

2. SERVED BY UNITED STATES MAIL:

Grace Watson
312 Grand Blvd.
Venice, CA 90291




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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